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11                                                       Special Counsel for Defendants

12                             IN THE UNITED STATES DISTRICT COURT

13                           FOR THE EASTERN DISTRICT OF CALIFORNIA

14                                       SACRAMENTO DIVISION

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16
       RALPH COLEMAN, et al.,                               2:90-cv-00520 KJM-DB (PC)
17
                                             Plaintiffs, DEFENDANTS’ MONTHLY
18                                                       PSYCHIATRY VACANCY REPORT
                      v.
19
                                                            Judge: The Hon. Kimberly J. Mueller
20     GAVIN NEWSOM, et al.,

21                                        Defendants.

22

23           On February 14, 2018, the Court ordered Defendants to file, on a monthly basis, a report

24     “identifying the psychiatrist vacancy rates at each CDCR institution and in the aggregate

25     systemwide . . . for the preceding month.” (ECF No. 5786 at 4.) The Court ordered Defendants

26     to file the report by the 15th day of the month. (Id.) On August 22, 2018, the Court approved a

27     stipulation extending the reporting date to the last court day of the month. (ECF No. 5886.)

28     ///
                                                        1
                                    Defendants’ Monthly Psychiatry Vacancy Report (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-SCR          Document 7335        Filed 09/30/21       Page 2 of 5


 1          Consistent with the Court’s February 14, 2018 order, attached here is a letter from

 2     Defendant CDCR setting forth CDCR’s Division of Health Care Services Systemwide Mental

 3     Health Program Allocated and Filled Psychiatry Positions for August 2021.

 4                                           CERTIFICATION
 5          Defendants’ counsel certifies that she reviewed the following orders relevant to this filing:

 6     ECF No. 5786, ECF No. 5803, and ECF No. 5886.

 7     Dated: September 30, 2021                            Respectfully submitted,
 8                                                          ROB A. BONTA
                                                            Attorney General of California
 9                                                          DAMON MCCLAIN
                                                            Supervising Deputy Attorney General
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11                                                         /S/ Namrata Kotwani                    ___
                                                            NAMRATA KOTWANI
12                                                          Deputy Attorney General
                                                           Attorneys for Defendants
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                                   Defendants’ Monthly Psychiatry Vacancy Report (2:90-cv-00520 KJM-DB (PC))
                Case 2:90-cv-00520-KJM-SCR                          Document 7335   Filed 09/30/21     Page 3 of 5
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION                                    GAVIN NEWSOM, GOVERNOR

 DIVISION OF HEALTH CARE SERVICES
 STATEWIDE MENTAL HEALTH PROGRAM
 P.O. Box 588500
 Elk Grove, CA 95758




           September 30, 2021


           Namrata Kotwani, Esq.
           California Department of Justice
           455 Golden Gate Ave Ste 11000
           San Francisco, CA 94102-7020

           RE:       CDCR’S DIVISION OF HEALTH CARE SERVICES SYSTEMWIDE MENTAL
                     HEALTH PROGRAM ALLOCATED AND FILLED PSYCHIATRY POSITIONS

             Dear Ms. Kotwani:

                   The California Department of Corrections and Rehabilitation (CDCR) hereby submits as
           Exhibit A its monthly reports identifying the psychiatry vacancy rates at each CDCR institution
           and systemwide for August 2021. In accordance with the Court’s February 14, 2018 order, the
           reports contain the same data as the Correctional Health Care Services Mental Health Institution
           Vacancies: Summary by Institution by Classification. It also includes data from the monthly
           telepsychiatry report, as well as a separate column showing the number of psychiatric nurse
           practitioners working at each institution and systemwide, and the fill rate including psychiatric
           nurse practitioners.

           Sincerely,

           /s/ Amar Mehta
           Amar Mehta, M.D.
           Deputy Director
           Statewide Mental Health Program
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              EXHIBIT A
                                               Case 2:90-cv-00520-KJM-SCR                            Document 7335                Filed 09/30/21              Page 5 of 5



                                                                     Division of Health Care Services
                                                                    Statewide Mental Health Program
                                                          Allocated and Filled Psychiatry Positions - August 2021
                              Allocated Jul 20211                                                           Filled August 2021                                                    Filled w PNP August 2021
                                                                                         On-Site                        Telepsych
Sites              Site        Telepsych        Allocated Total          Site2          Registry3         Telepsych4    Registry3,4           Total         Percentage        PNP2,3          Total        Percentage
   ASP              3.00           0.00                3.00               0.00               5.09             0.00             0.00           5.09            170%              0.00           5.09            170%
   CAL              0.00           1.00                1.00               0.00               0.00             1.00             0.00           1.00            100%              0.00           1.00            100%
   CCC              0.00           1.00                1.00               0.00               0.00             0.00             0.00           0.00             0%               0.00           0.00             0%
   CCI              3.50           1.00                4.50               2.00               1.74             1.00             0.00           4.74            105%              0.00           4.74            105%
  CCWF              7.50           2.00                9.50               5.00               0.00             2.00             0.00           7.00             74%              1.81           8.81            93%
   CEN              1.00           0.00                1.00               1.00               0.00             0.00             0.00           1.00            100%              0.00           1.00            100%
  CHCF             11.00           12.50               23.50              4.00               6.14             7.77             0.00           17.91            76%              1.00          18.91            80%
 CHCF PIP          33.00           0.00                33.00             14.00               10.04            0.00             0.00           24.04            73%              0.00          24.04            73%
   CIM              8.00           1.00                9.00               6.00               1.98             1.00             0.00           8.98            100%              0.00           8.98            100%
   CIW             10.60           0.00                10.60              5.00               5.52             0.00             0.00           10.52            99%              0.00          10.52            99%
   CMC             14.50           1.50                16.00              7.00               5.72             1.00             0.00           13.72            86%              0.00          13.72            86%
   CMF             13.50           4.00                17.50              6.00               5.96             4.00             0.00           15.96            91%              1.00          16.96            97%
 CMF PIP           31.20           0.00                31.20              6.00               13.54            1.00             0.00           20.54            66%              0.00          20.54            66%
   COR              6.00           4.50                10.50              2.50               2.99             5.50             0.00           10.99           105%              0.00          10.99            105%
   CRC              3.00           0.00                3.00               7.00               0.00             0.00             0.00           7.00            233%              0.00           7.00            233%
   CTF              4.00           0.50                4.50               2.00               1.04             0.00             0.00           3.04             68%              1.04           4.08            91%
  CVSP              0.00           0.50                0.50               0.00               0.00             0.50             0.00           0.50            100%              0.00           0.50            100%
   FSP              2.00           0.00                2.00               3.00               0.00             0.00             0.00           3.00            150%              0.00           3.00            150%
  HDSP              0.50           4.50                5.00               0.00               0.00             4.73             0.00           4.73             95%              0.00           4.73            95%
   ISP              0.00           0.50                0.50               0.00               0.00             0.50             0.00           0.50            100%              0.00           0.50            100%
  KVSP              3.00           4.50                7.50               1.00               0.35             4.84             0.00           6.19             83%              1.92           8.11            108%
   LAC             10.00           1.00                11.00              6.00               4.11             1.00             0.00           11.11           101%              1.21          12.32            112%
  MCSP              7.50           7.00                14.50              5.75               2.23             6.27             0.00           14.25            98%              0.00          14.25            98%
  NKSP              7.50           2.00                9.50               0.00               4.77             4.00             0.00           8.77             92%              0.00           8.77            92%
  PBSP              1.00           1.50                2.50               1.00               0.00             1.58             0.00           2.58            103%              0.00           2.58            103%
  PVSP              2.00           0.00                2.00               1.00               1.32             1.00             0.00           3.32            166%              0.00           3.32            166%
   RJD             13.00           2.00                15.00              7.00               5.11             2.00             0.00           14.11            94%              0.00          14.11            94%
   SAC             19.00           0.00                19.00             15.75               3.33             0.00             0.00           19.08           100%              0.00          19.08            100%
   SATF             5.00           9.50                14.50              1.00               2.14            11.31             0.00           14.45           100%              2.05          16.50            114%
   SCC              2.00           0.00                2.00               1.00               0.00             0.00             0.00           1.00             50%              0.92           1.92            96%
   SOL              4.00           0.00                4.00               4.00               0.28             0.00             0.00           4.28            107%              0.00           4.28            107%
    SQ             10.00           0.00                10.00             11.00               1.06             0.00             0.00           12.06           121%              0.00          12.06            121%
  SVSP              2.00           6.50                8.50               0.00               3.64             7.00             0.12           10.76           127%              0.00          10.76            127%
 SVSP PIP          11.20           0.00                11.20              0.00               8.59             0.00             0.00           8.59             77%              0.00           8.59            77%
   VSP              0.50           6.00                6.50               0.00               0.37             7.46             0.00           7.83            120%              0.00           7.83            120%
   WSP              6.00           4.00                10.00              3.00               1.43             5.00             0.00           9.43             94%              0.00           9.43            94%
         5
  NTTM
              I 0.00 I 10.50 I                         10.50
                                                                    I     0.00
                                                                                    I        0.00
                                                                                                      I       2.00
                                                                                                                         I     0.00
                                                                                                                                         I    2.00
                                                                                                                                                        I      19%
                                                                                                                                                                         I      0.00           2.00            19%

  TOTAL           256.00           89.00              345.00            128.00               98.49           83.46             0.12          310.07            90%             10.95          321.02           93%
 Footnote
               Source: MH Staffing Memo July 2021 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the number of positions in the Governor's
             1 2021/22 budget and include the Flex Bed positions for CHCF PIP and CMF PIP.
             2 Source: August 30, 2021 CCHCS Psychiatrist Vacancy/Coverage Report
             3 Source: PSYT_PNP Temp Relief Details (August 2021)
             4 Source: August 2021 Telepsychiatry Provider List
             5 NTTM-Nighttime Telepsych Shift - Took 0.5 from (CHCF, CMF, CIW, CMC, COR, CVSP, HDSP, ISP, KVSP, MCSP, PBSP, RJD, SAC, SVSP, VSP, WSP) telepsych
